     Case 2:20-cv-01750-JAD-NJK Document 98 Filed 09/12/22 Page 1 of 2



 1   PAUL T. TRIMMER (State Bar No. 9291)
     Paul.Trimmer@jacksonlewis.com
 2   PHILLIP C. THOMPSON (State Bar No. 12114)
     Phillip.Thompson@jacksonlewis.com
 3   JACKSON LEWIS P.C.
     300 S. Fourth Street, Suite 900
 4   Las Vegas, Nevada 89101
     Tel:     (702) 921-2460
 5   Fax: (702) 921-2461

 6   RENÉ E. THORNE (admitted pro hac vice)
     Rene.Thorne@jacksonlewis.com
 7   JACKSON LEWIS P.C.
     650 Poydras Street, Ste. 1900
 8   New Orleans, LA 70130
     Tel:   (504) 208-1755
 9
     Attorneys for Defendants
10
                                UNITED STATES DISTRICT COURT
11                               FOR THE DISTRICT OF NEVADA
12     EBONI D. LUCAS, JEREMY GOARD, and
       SHAWNDREA STAFFORD, individually and                CIVIL ACTION NO.: 2:20-cv-01750-
13     on behalf of all others similarly situated,         JAD-NJK
14
                                     Plaintiffs,
15                                                         JOINT MOTION TO CONTINUE
                      v.                                   SEPTEMBER 15, 2022 MOTION
16                                                         HEARING [ECF No. 95]
       MGM RESORTS INTERNATIONAL, THE
17     INTERNAL COMPENSATION COMMITTEE
       OF MGM RESORTS INTERNATIONAL, THE
18     ADMINSTRATIVE COMMITTEE OF MGM
       RESORTS INTERNATIONAL, and JOHN
19     DOES 1-30.
20                                   Defendants.
21

22          Plaintiffs Eboni D. Lucas, Jeremy Goard, and Shawndrea Stafford (“Plaintiffs”), and

23   Defendants MGM Resorts International, the Internal Compensation Committee of the MGM

24   Resorts International, and the Administrative Committee of MGM Resorts International
25
     (“Defendants”), by and through their attorneys of record, hereby respectfully move to continue the
26
     hearing set for September 15, 2022. ECF No. 95. In support of this motion, the parties state as
27
     follows:
28
                                                     -1-
     Case 2:20-cv-01750-JAD-NJK Document 98 Filed 09/12/22 Page 2 of 2



 1            1.       Counsel for Plaintiffs and Defendants are not available on September 15, 2022.

 2            2.       Counsel for all parties are available on September 21 at or after 11 a.m. pacific time.
 3
     This date works best for all parties.
 4
              3.       Alternatively, the parties are available September 27 and October 3, 5, and 6.
 5
              4.       Counsel for Plaintiffs requests to appear remotely via telephone or video conference
 6
     due to travel requirements. Defendants intend to appear in-person, but Defendants have no
 7

 8   objection to Plaintiffs’ request to appear remotely.

 9
10      DATED this 12th day of September, 2022.

11                                                              JACKSON LEWIS, P.C.
        CAPOZZI ADLER, P.C.
12                                                              /s/Phillip C. Thompson
        /s/ Donald R. Reavey
        Mark K. Gyandoh                                         René E. Thorne (admitted pro hac vice)
13                                                              Rene.Thorne@jacksonlewis.com
        (admitted pro hac vice)
14      312 Old Lancaster Road                                  601 Poydras Street, Suite 1400
        Merion Station, PA 19066                                New Orleans, LA 70130
15      Telephone: (610) 890-0200
        Facsimile: (717) 233-4103                               Paul T. Trimmer (NV Bar #9291)
16                                                              Paul.Trimmer@jacksonlewis.com
        Email: markg@capozziadler.com
                                                                Phillip C. Thompson (NV Bar #12114)
17
        Donald R. Reavey, Esquire                               Phillip.Thompson@jacksonlewis.com
18      (admitted pro hac vice)                                 300 S. Fourth Street, Suite 900
        2933 North Front Street                                 Las Vegas, NV 89101
19      Harrisburg, PA 17110
        donr@capozziadler.com                                   Counsel for Defendants
20      Tel. (717) 233-4101
        Fax (717) 233-4103
21
        Attorneys for Plaintiffs and the Proposed Class
22

23

24

25
     4876-2417-8994, v. 1
26

27

28


                                                          -2-
